    Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 1 of 33




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



SECURITIES AND EXCHANGE
COMMISSION,

          Applicant,
                                         Case No. 23-mc-00002 (APM)
     v.

COVINGTON & BURLING LLP,

          Respondent.




       REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
 SECURITIES AND EXCHANGE COMMISSION’S APPLICATION FOR ORDER
     COMPELLING COMPLIANCE WITH INVESTIGATIVE SUBPOENA




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            Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 2 of 33




                                                  TABLE OF CONTENTS

INTRODUCTION...........................................................................................................................1

ARGUMENT...................................................................................................................................4

     I.         COVINGTON HAS FAILED TO ESTABLISH ANY PRIVILEGE ............................4

     II.        THE COURT SHOULD APPLY THE LONG-SETTLED
                STANDARD FOR ENFORCING ADMINISTRATIVE SUBPOENAS.....................7

                 A.      Under Controlling Precedent, Administrative Subpoenas Satisfy
                         The Fourth Amendment If The Agency Has Authority To Issue
                         The Subpoena And The Requests Are “Not Too Indefinite” And
                         “Reasonably Relevant” .......................................................................................7

                 B.      The D.C. Circuit Applies Oklahoma Press And Morton Salt To
                         Administrative Subpoenas Seeking “Private” Information,
                         Including Subpoenas to Law Firms...................................................................10

                 C.      Carpenter Does Not Apply Here ......................................................................11

                             1.      The Facts In Carpenter Differ Significantly From The
                                     Facts In This Proceeding......................................................................12

                             2.      Carpenter Is Limited To The “Narrow” Context In
                                     Which The Government Obtains Cell Phone Locational
                                     Information Without A Warrant..........................................................13

                             3.      Extending Carpenter Would Upend The SEC’s Ability
                                     To Investigate Violations Of The Federal Securities Laws ................14

                 D.      Covington’s Request For An Undefined Balancing Test
                         Has No Merit ....................................................................................................16

     III.       THE COURT SHOULD COMPEL COVINGTON’S COMPLIANCE
                WITH THE SEC’S INVESTIGATIVE SUBPOENA.................................................17

     IV.        THE POLICY ARGUMENTS ADVANCED BY COVINGTON
                AND AMICI LACK MERIT.......................................................................................20

                 A.       The SEC Has Law Enforcement Interests Distinct From The
                          Department Of Justice And FBI And Pursues Its Investigations
                          Independently Of Criminal Law Enforcement Authorities.............................20




                                                                     i
           Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 3 of 33




                 B.       The SEC Is Fulfilling Its Congressionally Mandated Mission
                          Of Protecting Investors And Regulating Market Participants.........................22

                 C.       The Present Subpoena Enforcement Action Has Limited
                          Implications Outside The Specific Factual Context Of This Matter...............23

                 D.       The SEC Has No Other Means To Obtain The Names Of Public
                          Companies Impacted By The Cyberattack Against Covington,
                          Contrary To The Statements Of Covington And Amici..................................24

                 E.       The SEC’s Investigation Is Non-Public And Confidential..............................25

CONCLUSION .............................................................................................................................25




                                                                   ii
           Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 4 of 33




                                              TABLE OF AUTHORITIES

Cases

Adair v. Rose Law Firm,
       867 F. Supp. 1111 (D.D.C. 1994) ........................................................................... 4, 11, 19

Barback v. Fisher,
      No. 20-515, 2022 WL 965914 (M.D. La. March 30, 2022) ............................................. 18

Camara v. Municipal Court of San Francisco,
     387 U.S. 523 (1967) .................................................................................................... 16, 17

Carpenter v. United States,
      138 S. Ct. 2206 (2018) ............................................................................................... passim

Cause of Action Inst. v. U.S. Dep’t of Just.,
      330 F. Supp. 3d 336 (D.D.C. 2018) .................................................................................... 5

CFTC v. Ekasala,
      62 F. Supp. 3d 88 (D.D.C. 2014) ........................................................................................ 9

CFTC v. First State Depository Co., LLC,
      No. 21-mc-048 (JEB/GMH), 2021 WL 7448016 (D.D.C. June 23, 2021) ......................... 9

City of Los Angeles v. Patel,
        576 U.S. 409 (2015) .................................................................................................. 8, 9, 13

Delaware v. Prouse,
      440 U.S. 648 (1979) .......................................................................................................... 17

Director, Office of Thrift Supervision v. Vinson & Elkins, LLP,
       124 F.3d 1304 (D.C. Cir. 1997) ..................................................................................... 11

Donovan v. Lone Steer, Inc.,
      464 U.S. 408 (1984) ............................................................................................................ 9

FTC v. Boehringer Ingelheim Pharms., Inc.,
       180 F. Supp. 3d 1 (D.D.C. 2016) ........................................................................................ 6

FTC v. Church & Dwight Co., Inc.,
       665 F.3d 1312 (D.C. Cir. 2011) .......................................................................................... 9

FTC v. Invention Submission Corp.,
       965 F.2d 1086 (D.C. Cir. 1992) .......................................................................................... 9

FTC v. Platinum Plus Printing, LLC,
       No. 21-92 (RDM), 2021 WL 3363416 (D.D.C. Aug. 3, 2021) .......................................... 9



                                                                 iii
           Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 5 of 33




FTC v. Texaco, Inc.
       555 F.2d 862 (D.C. Cir. 1977) .......................................................................................... 18

FTC v. Trudeau,
       No. 03 C 3904, 2013 WL 842599 (N.D. Ill. Mar. 6, 2013) .............................................. 18

Hart v. Massanari,
        266 F.3d 1155 (9th Cir. 2001) .......................................................................................... 14

In re Lindsey,
        158 F.3d 1263 (D.C. Cir. 1998) .......................................................................................... 5

In re McVane,
       44 F.3d 1127 (2d Cir. 1995).............................................................................................. 10

In re Sealed Case (Administrative Subpoena),
        42 F.3d 1412 (D.C. Cir. 1994) .......................................................................................... 10

In re Subpoena Duces Tecum,
        228 F.3d 341 (4th Cir. 2000) ................................................................................. 13, 15-16

In re Veiga,
       746 F. Supp. 2d 27 (D.D.C. 2010) ...................................................................................... 7

Kleiser v. Chavez,
       55 F.4th 782 (9th Cir. 2022) ............................................................................................ 14

Linde Thomson Langworthy Kohn & Van Dyke, P.C. v. RTC,
       5 F.3d 1508 (D.C. Cir. 1993) ...................................................................................... 11, 19

Maryland v. King,
      569 U.S. 435 (2013) .......................................................................................................... 17

Oklahoma Press Publishing Co. v. Walling,
      327 U.S. 186 (1946) ................................................................................................... passim

Penfield Co. v. SEC,
       330 U.S. 585 (1947) ............................................................................................................ 9

RTC v. Walde,
       18 F.3d 943 (D.C. Cir. 1994) ...................................................................................... 10, 13

SEC v. Arthur Young & Co.,
       584 F.2d 1018 (D.C. Cir. 1978) .......................................................................... 3, 6, 15, 20

SEC v. Whittemore,
       No. 05-869 (RMC), 2006 WL 8462457 (D.D.C. Oct. 24, 2006)..................................... 4-5




                                                                  iv
            Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 6 of 33




See v. City of Seattle,
        387 U.S. 541 (1967) ............................................................................................................ 9

Taylor Lohmeyer Law Firm P.L.L.C. v. United States,
       957 F.3d 505 (5th Cir. 2020) .............................................................................................. 6

United States v. Cal. Rural Legal Assistance, Inc.
       824 F. Supp. 2d 31 (D.D.C. 2013) .......................................................................... 4, 11, 19

United States v. Cal. Rural Legal Assistance, Inc.,
       722 F.3d 424 (D.C. Cir. 2013) ........................................................................ 4, 11, 19, 25

United States v. Hammond,
       996 F.3d 374 (7th Cir. 2021) ............................................................................................ 14

United States v. Hunton & Williams,
       952 F. Supp. 843 (D.D.C. 1997) ............................................................................. 4, 11, 19

United States v. Legal Servs. for N.Y.C.,
       249 F.3d 1077 (D.C. Cir. 2001) ................................................................................. passim

United States v. Legal Servs. for N.Y.C.,
       100 F. Supp. 2d 42 (D.D.C. 2000) .................................................................................... 20

United States v. Morton Salt Co.,
       338 U.S. 632 (1950) ................................................................................................... passim

United States v. Powell,
       379 U.S. 48 (1964) .............................................................................................................. 9

United States v Trader,
       981 F.3d 961 (11th Cir. 2020) .......................................................................................... 14

Zietzke v. United States,
        426 F. Supp. 3d 758 (W.D. Wa. 2019) ............................................................................. 14



Statutes

15 U.S.C. § 78u ............................................................................................................................. 15

15 U.S.C. § 78x ............................................................................................................................. 25




                                                                      v
            Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 7 of 33




Other Authorities

Commission Statement and Guidance on Public Company Cybersecurity Disclosures,
     Release No. 33-10459 (Feb. 26. 2018) [83 FR 8166] ....................................................... 23

D.C. Bar Rule of Professional Conduct 1.6 .................................................................................. 18



Rules

Fed. R. Civ. P. 26 ............................................................................................................................ 5



Regulations

17 C.F.R. § 230.122 ...................................................................................................................... 25

17 C.F.R. § 240.24c-1 ................................................................................................................... 25

17 C.F.R. § 200.735-3................................................................................................................... 25




                                                                      vi
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 8 of 33




       The Securities and Exchange Commission (the “Commission” or “SEC”) respectfully

submits this Reply Memorandum of Law in further support of its Application for an Order

Compelling Compliance with Investigative Subpoena (ECF 1).1 The Commission addresses

herein the arguments made by Respondent Covington & Burlington LLP (“Covington”) in its

Opposition Brief (ECF 14) (“Covington Opposition” or “Cov. Opp.”) as well as the arguments

set forth in briefs filed by Amici 83 Law Firms (ECF 17) (“Law Firm Brief”), Reporters

Committee for Freedom of the Press (ECF 18) (“Reporter Brief”), the Chamber of Commerce

(ECF 19) (“Chamber Brief”), and the Association of Corporate Counsel (ECF 26) (“ACC Brief”)

(collectively, “Amici”).

                                       INTRODUCTION

       This subpoena enforcement proceeding relates to a major cyberattack that may have

compromised material, non-public information (“MNPI”) belonging to Covington’s public

company clients that are regulated by the Commission. Covington agrees that the Commission

has authority to investigate whether any stolen information has been used in violation of the

federal securities laws. But Covington asks the Court to hamstring the investigation because the

hacker stole from a law firm. The Court should reject this request. Long-settled case law

establishes that the Commission may subpoena Covington’s business records and learn the

identities of the impacted public companies so that the Commission can conduct an effective

investigation.

       The D.C. Circuit and courts within this District have ruled on multiple occasions that a

federal agency may subpoena a law firm’s or legal services provider’s client list because a client




1
         The Memorandum of Points and Authorities filed in Support of the Application (ECF 1-
1) is referred to herein as the “Application.”


                                                1
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 9 of 33




list does not disclose legal advice or any other privileged information. See, e.g., United States v.

Legal Servs. for N.Y.C., 249 F.3d 1077, 1081 (D.C. Cir. 2001) (affirming order requiring legal

services provider to comply with an administrative subpoena and produce a client list); id.

(“Courts have consistently held that the general subject matter of clients’ representations are not

privileged.”) (citation omitted). And contrary to Covington’s assertion, courts apply the same

deferential standard in determining whether to enforce administrative subpoenas when an agency

seeks client information from a law firm or generally seeks information that could be deemed

“private” in some sense (most administrative subpoenas seek information that is non-public).

The Supreme Court established that deferential standard in Oklahoma Press Publishing Co. v.

Walling, 327 U.S. 186 (1946), and United States v. Morton Salt Co., 338 U.S. 632 (1950), which

the Supreme Court and lower courts have continued to apply over the past 75 years.

       Covington attempts to avoid this settled law by citing an easily distinguishable criminal

case, Carpenter v. United States, 138 S. Ct. 2206 (2018). Carpenter concerned the government’s

warrantless and covert collection of 127 days’ worth of cell phone locational data that provided

the government with “near perfect surveillance” of defendant’s movements, “as if it had attached

an ankle monitor to the phone’s user.” 138 S. Ct. at 2218. The kind of extensive information-

gathering at issue in Carpenter is entirely different from the request for client names before the

Court here. Indeed, the Carpenter Court stressed that its opinion was “a narrow one” and that its

decision did not apply in other contexts, including even other types of surveillance. Id. at 2220.

The decision does not apply to administrative subpoenas that, like the one at issue here, allow the

subpoena recipient to challenge the subpoena in federal court before having to provide any

information.

       Because the law plainly requires Covington’s compliance with the subpoena, Covington




                                                 2
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 10 of 33




and Amici attempt to distract the Court by making hyperbolic and exaggerated claims that the

SEC: has engaged in “aggressive and unprecedented tactics”; has attempted to “raid,”

“rummage,” or “rifle through” Covington’s confidential client files; wants “to invade a sacred

precinct of trust and confidence”; seeks “a piecemeal dismantling of the fundamental protections

for attorney-client communications, attorney work product, and client confidences”; seeks “to

weaponize information voluntarily reported to the government”; and seeks “to act as an agent of

cybersecurity chaos.”

       These assertions misstate the record. To be clear: the Commission seeks a list of the 298

public companies that are regulated by the SEC and that may have had their MNPI stolen as part

of the cyberattack on Covington’s servers (“Impacted Company List”). The SEC is not asking

the Court to require Covington to turn over any “client files,” “attorney work product,” or

“attorney-client communications.” The Commission needs this list to fulfill its congressionally-

mandated mission of protecting investors and regulating the public securities markets. And the

Commission has subpoenaed Covington because Covington alone possesses this information.

       Finally, Covington and Amici advance a hodgepodge of policy arguments in support of

replacing a longstanding, settled standard with some new, undefined balancing test for

determining the reasonableness of the subpoena. As discussed herein, those policy contentions

mostly rest on false speculation and hyperbole, not fact, and deserve no credit. Regardless,

existing Supreme Court and D.C. Circuit precedents setting forth the standard for enforcement of

administrative subpoenas should and do continue to apply. And Congress has entrusted the

Commission with determining the breadth and methods of its securities law enforcement

investigations. SEC v. Arthur Young & Co., 584 F.2d 1018, 1031 (D.C. Cir. 1978) (“The breadth

of an investigation is for the [SEC] to determine.”) (citation omitted).




                                                 3
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 11 of 33




       The Court should compel Covington to comply with the subpoena as narrowed by the

Commission in its Application.

                                           ARGUMENT

I.     COVINGTON HAS FAILED TO ESTABLISH ANY PRIVILEGE

       Covington argues that it should be excused from disclosing the Impacted Company List

because it is attorney-client privileged. Cov. Opp. 19-20. This contention has no merit.

Revealing a client’s identity does not require disclosure of any confidential communication

between the lawyer and client, and, for that reason, client identity information is not privileged

under applicable federal law. Covington does not attempt to address, let alone distinguish, the

myriad cases so holding—including decisions of the D.C. Circuit and courts of this District

compelling the production of client lists in the context of administrative subpoenas. See, e.g.,

United States v. Cal. Rural Legal Assistance, Inc., 722 F.3d 424, 427-29 (D.C. Cir. 2013)

(applying federal law of privilege and affirming order requiring legal services provider to

provide client names in response to administrative subpoena);2 Legal Servs. for N.Y.C., 249 F.3d

at 1081 (affirming order requiring legal services agency to disclose client names); United States

v. Hunton & Williams, 952 F. Supp. 843, 856 (D.D.C. 1997) (ordering law firm to produce client

list in response to administrative subpoena and noting the federal rule that “client-identity is not

protected by the attorney-client privilege”); Adair v. Rose Law Firm, 867 F. Supp. 1111 (D.D.C.

1994) (ordering law firm to produce client list in response to administrative subpoena); see also,

e.g., SEC v. Whittemore, No. 05-869 (RMC), 2006 WL 8462457, at **1-2 (D.D.C. Oct. 24,



2
        The order affirmed by the D.C. Circuit required not only production of client names but
also other client-identifying information, including intake sheets, retainer agreements, and other
information about the nature of the representation. See United States v. Cal. Rural Legal
Assistance, Inc., 824 F. Supp. 2d 31, 36-38 (D.D.C. 2011).



                                                 4
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 12 of 33




2006) (granting SEC’s motion to compel the identity of law firm client and noting that

“[a]lthough the name of a client is confidential, it is not protected by the attorney-client

privilege”).

       Against the backdrop of this case law and the maxim that privilege assertions should be

“strictly confined within the narrowest possible limits,” In re Lindsey, 158 F.3d 1263, 1272 (D.C.

Cir. 1998) (citation and quotation marks omitted), Covington argues that an “exception” to the

general rule applies where “a client’s identity is sufficiently intertwined with the client’s

confidences.” Cov. Opp. 19. Covington claims that client identity and confidences are

intertwined here because: (1) the subpoena “is only the first step toward an inevitable demand for

privileged information and work product,” and (2) the Impacted Company List “will effectively

reveal the content of privileged client communications either in whole or in part.” Cov. Opp. 19-

20. Both assertions are incorrect, and any “exception” accordingly does not apply.3

       First, Covington’s assertion that the subpoena is a “first step toward an inevitable demand

for privileged information” is incorrect and reflects a lack of understanding of the Commission’s

investigative tools. Regardless, if Covington believes that any future request seeks privileged

information, Covington may object to the request and refuse to produce the documents over

which it asserts privilege. The Commission’s only recourse in such a situation (assuming the



3
         Covington cites just one case in support of the claimed “exception.” Cause of Action
Inst. v. U.S. Dep’t of Just., 330 F. Supp. 3d 336, 350 (D.D.C. 2018). Cov. Opp. 19-20. That case
concerned the government’s FOIA obligations, not an administrative subpoena. In the context of
a litigation or a formal agency investigation, like the one at issue here, a party generally cannot
avoid disclosing the fact of a privileged communication, the parties to that communication, and
the general nature of that communication; for this reason, parties must prepare and disclose
privilege logs identifying the nature, date, and recipients of privileged communications. Fed. R.
Civ. P. 26(b)(5); see also Legal Servs. for N.Y.C., 249 F.3d at 1081 (“Courts have consistently
held that the general subject matters of clients’ representations are not privileged.”) (citation
omitted).



                                                 5
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 13 of 33




Commission were to disagree with the privilege assertion) would be a subpoena enforcement

action like this one, and Covington and its clients would receive judicial protection from any

agency overreach. See Arthur Young, 584 F.2d at 1028 (rejecting concern about an

“overzealous” SEC staff, noting that “so long as the courts retain their power of individual

inquiry prior to enforcement of administrative subpoenas, there is relatively little for anyone to

fear”). Moreover, Covington’s speculation that the Commission might issue future investigative

subpoenas that might seek privileged information does not address the question before this

Court—whether the Impacted Company List itself is privileged.

       Second, the Impacted Company List will not “effectively reveal the content of privileged

client communications.” Covington contends that the Commission might be able to guess

“which clients received specific information and advice from Covington in connection with the

cyberattack.” Cov. Opp. 20. But Covington does not explain the basis for this speculation.

Even if the speculation had some foundation, which it does not, the fact that a public company

client had communications with Covington about the cyberattack says nothing about the nature

or substance of Covington’s legal advice (if any was provided). See Taylor Lohmeyer Law Firm

P.L.L.C. v. United States, 957 F.3d 505, 513 (5th Cir. 2020) (enforcing administrative subpoena

to law firm seeking client information and rejecting argument that client identities were

“connected inextricably with a privileged communication” where it was “less than clear” what

legal advice may have been provided); FTC v. Boehringer Ingelheim Pharms., Inc., 180 F. Supp.

3d 1, 16 (D.D.C. 2016) (“It is not sufficient to show merely that the communication was between

client and attorney.”).

       In short, Covington has failed to satisfy its burden, presenting only speculation in support

of its assertion that the Impacted Company List is privileged—speculation that the Commission




                                                 6
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 14 of 33




might seek privileged information in the future or might be able to guess which clients received

advice (but not the content of that advice). This is insufficient. See, e.g., In re Veiga, 746 F.

Supp. 2d 27, 34 (D.D.C. 2010) (“[T]he proponent of the privilege must offer more than just

conclusory statements, generalized assertions, and unsworn averments of its counsel. Where the

proponent fails to adduce sufficient facts to permit the court to conclude with reasonable

certainty that the privilege applies, its burden is not met.”) (citations omitted).

II.    THE COURT SHOULD APPLY THE LONG-SETTLED STANDARD FOR
       ENFORCING ADMINISTRATIVE SUBPOENAS

       Because Covington has failed to establish that the Impacted Company List is privileged,

Covington must produce the list under well-established law. The Court should reject

Covington’s and Amici’s invitation to ignore that law.

       A.      Under Controlling Precedent, Administrative Subpoenas Satisfy The Fourth
               Amendment If The Agency Has Authority To Issue The Subpoena And The
               Requests Are “Not Too Indefinite” And “Reasonably Relevant”

       The Commission here has subpoenaed a Covington business record listing certain

Covington clients. Like many business records that agencies subpoena with frequency, this list

may be non-public and thus can be labeled as “private.” But under the law that has developed

over the past 75 years, such records are not shielded simply because a subpoena recipient deems

them “private” so long as the agency has authority for issuing the subpoena, the request is “not

too indefinite,” and the information sought is “reasonably relevant” to the investigation and

therefore not unduly burdensome.

       In Oklahoma Press, the Supreme Court affirmed an order compelling a newspaper

publishing company to respond to an administrative subpoena seeking confidential personnel

records notwithstanding the purported First and Fourth Amendment rights at stake. The Court

rejected the argument that, as in the case of a warrant, the agency needed to establish probable



                                                  7
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 15 of 33




cause: “It is enough that the investigation be for a lawfully authorized purpose, within the power

of Congress to command.” 327 U.S. at 209. As explained by the Court, the subpoena

commences a process of judicial review that addresses the Fourth Amendment requirement that

the governmental request for papers be reasonable. According to the Court, in the context of an

administrative subpoena, the Fourth Amendment “guards against abuse only by way of too much

indefiniteness or breadth in the things required to be ‘particularly described,’ if also the inquiry is

one the demanding agency is authorized by law to make and the materials specified are

relevant.” Id. at 208.

        The Court in Morton Salt addressed similar arguments that the agency had gone too far,

in violation of the Fourth Amendment, in seeking non-public business records based on

“suspicion” and “curiosity.” 338 U.S. at 640. The Court rejected those arguments, explaining

that the agency could “investigate merely on suspicion that the law is being violated, or even just

because it wants assurance that it is not.” Id. at 642-643. Per the Court, an agency subpoena

must be enforced where (1) “the inquiry is within the authority of the agency,” (2) “the demand

is not too indefinite,” and (3) “the information sought is reasonably relevant.” Id. at 652-53.

       The Supreme Court has repeatedly reaffirmed these rulings. For example, in City of Los

Angeles v. Patel, the Court considered and struck down a law that required hotels to make their

guest registries available for unfettered inspection by the police. 576 U.S. 409 (2015). Notably,

the Court explained that administrative subpoenas provided a constitutional method to obtain

such “private” business records “without probable cause that a regulation is being infringed” and

are “one way in which an opportunity for precompliance review can be made available.”4 Id. at


4
        Covington agrees that the records at issue in Patel implicated privacy issues similar to
those at issue in this case but fails to acknowledge the distinction the Supreme Court drew for



                                                  8
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 16 of 33




421, 423; see also Donovan v. Lone Steer, Inc., 464 U.S. 408, 414-15 (1984) (reaffirming

holding in Oklahoma Press); See v. City of Seattle, 387 U.S. 541, 544 (1967) (describing Morton

Salt as “settled” law “when an administrative agency subpoenas corporate books or records”);

United States v. Powell, 379 U.S. 48, 51, 57-58 (1964) (rejecting “probable cause standard” for

enforcing IRS administrative summonses, citing Oklahoma Press); Penfield Co. v. SEC, 330

U.S. 585, 591 (1947) (citing Oklahoma Press and stating that the Commission was “entitled to

the aid of the court” in obtaining subpoenaed material).

       The lower courts have applied—and continue to apply—the three-part Morton Salt test in

deciding to enforce administrative investigative subpoenas. “So long as the material the

Commission seeks is relevant to the investigation—the boundary of which may be defined quite

generally[—]the district court must enforce the agency’s demand.” FTC v. Church & Dwight

Co., Inc., 665 F.3d 1312, 1316 (D.C. Cir. 2011) (emphasis in original; citations and quotation

marks omitted). Courts presume enforcement of administrative subpoenas, giving “broad

deference” to the agency. FTC v. Invention Submission Corp., 965 F.2d 1086, 1090 (D.C. Cir.

1992); CFTC v. First State Depository Co., LLC, No. 21-mc-048 (JEB/GMH), 2021 WL

7448016, at *3 (D.D.C. June 23, 2021) (same). An agency’s subpoena authority is especially

broad in the pre-complaint investigation stage, as is the case here, when the agency “is under no

obligation to propound a narrowly focused theory of a possible future case.” CFTC v. Ekasala,

62 F. Supp. 3d 88, 93 (D.D.C. 2014) (citation omitted); see also, e.g., FTC v. Platinum Plus

Printing, LLC, No. 21-92 (RDM), 2021 WL 3363416, at *4 (D.D.C. Aug. 3, 2021) (“It is well

established that a district court must enforce a federal agency’s investigative subpoena if the



administrative subpoenas. See Cov. Opp. 27-28 (discussing lower court decision in Patel as
support for the proposition that Covington’s lawyers “retain an independent interest in the
privacy of their business records, including client names”).

                                                9
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 17 of 33




information sought is ‘reasonably relevant.’”) (citations omitted).

       The subpoena here seeks information “reasonably relevant” to the SEC’s investigation

into whether the Hafnium cyberattack has resulted in violations of the federal securities laws to

the detriment of markets, investors, and other market participants. The Commission needs to

know which public companies may have had their MNPI compromised in order to identify, inter

alia, suspicious trading in those companies’ securities. Application at 7-9.

       B.      The D.C. Circuit Applies Oklahoma Press And Morton Salt To
               Administrative Subpoenas Seeking “Private” Information, Including
               Subpoenas To Law Firms

       Covington argues that this well-established law does not apply here because the SEC

seeks “private” information held by a third party, contending that the standard established by the

Supreme Court is too “government friendly.” But as described above, Oklahoma Press and

Morton Salt concerned requests for non-public records, and, consistent with Supreme Court

precedent, federal courts (including the D.C. Circuit) apply the Oklahoma Press and Morton Salt

test regardless of whether the subpoena seeks information that the subpoena recipient may

consider “private.” See In re Sealed Case (Administrative Subpoena), 42 F.3d 1412, 1416 (D.C.

Cir. 1994) (rejecting argument for different standard for subpoenaing private financial

information, noting that “nothing in Morton Salt or in the agency’s authorizing statutes imposes

such a requirement”); RTC v. Walde, 18 F.3d 943, 946-47 (D.C. Cir. 1994) (applying Morton

Salt test where agency sought private financial information).5



5
        Covington cites In re McVane, 44 F.3d 1127 (2d Cir. 1995), for the proposition that
courts apply “more exacting scrutiny” where privacy interests are implicated. Cov. Opp. 21.
Covington fails to mention that McVane itself recognized that courts have “applied the lenient
Morton Salt test to administrative subpoenas seeking personal records.” 44 F.3d at 1137.
Further, McVane makes clear that the Morton Salt test applies to subpoenas seeking information
about businesses. Id. at 1136-37.



                                               10
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 18 of 33




       Indeed, the cases most analogous to this one—those involving administrative subpoenas

to law firms and legal services providers in which the agency has sought the production of client

information—have applied the Morton Salt factors. See Director, Office of Thrift Supervision v.

Vinson & Elkins, LLP, 124 F.3d 1304, 1307 (D.C. Cir. 1997) (applying Morton Salt when

addressing an administrative subpoena to a law firm seeking attorney work product);6 see also

Legal Servs. for N.Y.C., 249 F.3d at 1083 (applying Morton Salt and ordering compliance with

administrative subpoena demanding client names and the nature of the client representations);

Linde Thomson Langworthy Kohn & Van Dyke, P.C. v. RTC, 5 F.3d 1508, 1513, 1516-17 (D.C.

Cir. 1993) (applying Oklahoma Press and ordering law firm to produce client information);

Hunton & Williams, 952 F. Supp. at 848 (ordering law firm to produce client list because the

administrative subpoena “meets all three of [the Morton Salt] requirements”); Adair, 867 F.

Supp. at 1119-20 (applying Morton Salt and ordering production of law firm’s client list); Cal.

Rural Legal Assistance, 824 F. Supp. 2d at 40 (ordering legal services provider to produce client

list and other client information and applying Morton Salt factors), affirmed in relevant part by

722 F.3d 424.

       C.       Carpenter Does Not Apply Here

       Covington and Amici contend that the long-settled standard for enforcement of

administrative subpoenas no longer applies in light of the Supreme Court’s decision in Carpenter

v. United States, 138 S. Ct. 2206 (2018). For at least three different reasons, they are wrong:

Carpenter is (1) inapposite and inapplicable, (2) “narrow,” and (3) in the context of

administrative subpoenas, incompatible with congressional intent.



6
      The court ultimately affirmed the district court’s order excusing compliance with the
subpoena because the government failed to establish a need for the work product sufficient to
overcome the privilege.

                                               11
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 19 of 33




               1.      The Facts In Carpenter Differ Significantly From The Facts In This
                       Proceeding

        The Supreme Court in Carpenter addressed a criminal defendant’s contention that the

government had violated his Fourth Amendment rights in its warrantless gathering of 127 days

of historical cell phone locational data, obtained ex parte through a statutory provision that

authorized the issuance of judicial orders for searches with a showing that fell “well short of the

probable cause required for a warrant.” 138 S. Ct. at 2221. That data provided an “all-

encompassing record of [defendant’s] whereabouts[,] … revealing not only his particular

movements, but through them his ‘familial, political, professional, religious, and sexual

associations.’” Id. at 2217 (citation omitted). The government accomplished “near perfect

surveillance” of defendant’s movements with the data, “as if it had attached an ankle monitor to

the phone’s user.” Id. at 2218. According to the Court, this locational data amounted to a

“detailed chronicle of a person’s physical presence compiled every day, every moment, over

several years.” Id. at 2220. The Court held that the government could obtain such highly

personal, invasive information only by obtaining a warrant supported by probable cause. Id. at

2221.

        The facts in this subpoena enforcement proceeding in no way resemble the facts in

Carpenter. The Commission seeks a Covington business record: a list of public companies

regulated by the Commission who may have had material, market-sensitive data stolen in a

cyberattack. Unlike in Carpenter, the SEC does not seek information about any individual

person, let alone information providing “near perfect surveillance” of such person amounting to a

“detailed chronical of [that] person’s physical presence … every day, every moment, over

several years.” Nor does the Commission seek panoptic information about the functions,

operations, or legal issues facing Covington’s corporate clients. The privacy interests animating



                                                12
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 20 of 33




the Court in Carpenter are wholly absent here. See Walde, 18 F.3d at 948 (“The Supreme Court

reminds us that ‘corporations can claim no equality with individuals in the enjoyment of a right

to privacy.’”) (quoting Morton Salt, 338 U.S. at 652).

       Moreover, the SEC’s subpoena provided notice to Covington, an opportunity for

Covington to object, and judicial review, in contrast to the process at issue in Carpenter where

the defendant had no advance notice of the government’s surveillance. The adversarial judicial

process required for enforcing administrative subpoenas makes such subpoenas different from

“cases of actual search and seizure” by the government of papers or effects, as to which the

Fourth Amendment requires a warrant supported by probable cause. Oklahoma Press, 327 U.S.

at 202. In the context of administrative subpoenas, “the Fourth [Amendment], if applicable, at

the most guards against abuse only by way of too much indefiniteness or breadth in the things

required to be ‘particularly described,’ if also the inquiry is one the demanding agency is

authorized by law to make and the materials are relevant.” Id. at 208; see also Patel, 576 U.S. at

421-23 (explaining that administrative subpoenas satisfy the Fourth Amendment because they

provide an opportunity for “precompliance review”); In re Subpoena Duces Tecum, 228 F.3d

341, 346-49 (4th Cir. 2000) (explaining the distinction between subpoenas and ex parte searches

and noting that, in context of administrative subpoenas, governmental power is constrained

through judicial supervision).

               2.      Carpenter Is Limited To The “Narrow” Context In Which The
                       Government Obtains Cell Phone Locational Information Without A
                       Warrant

       The Carpenter Court took pains to emphasize that its holding sought to protect the

privacy interests of individual “suspects” in a criminal proceeding, limiting its holding to an

“individual[’s] … legitimate expectation of privacy in the record of his physical movements as




                                                13
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 21 of 33




captured through [cell phone locational data].” 138 S. Ct. at 2217. This holding flowed from the

Court’s concern about the “intimate window into a person’s life” provided by cell phone

locational data. Id. (citation omitted). As the Court itself acknowledged, this holding was “a

narrow one.” Id. at 2220. To drive home the narrowness of its ruling, the Court further clarified

that it did “not express a view on matters not before us.” Id. Nor did the Court purport to

overrule any prior precedent.

       Numerous decisions have recognized Carpenter’s limited reach, even in cases like

Carpenter involving information gathering in the criminal context. See, e.g., Kleiser v. Chavez,

55 F.4th 782, 783-84 (9th Cir. 2022) (refusing to extend “narrow” ruling in Carpenter to private

search exception); United States v. Hammond, 996 F.3d 374 (7th Cir. 2021) (refusing to extend

Carpenter to the collection of real-time cell phone locational data), cert. denied, 142 S. Ct. 2646

(2022); United States v Trader, 981 F.3d 961, 968 (11th Cir. 2020) (“Carpenter’s ‘narrow’

exception … applies only to some cell-site location information, not to ordinary business records

like email addresses and internet protocol addresses”); Zietzke v. United States, 426 F. Supp. 3d

758, 768 (W.D. Wa. 2019) (limiting Carpenter to “surveillance”).

       The Court should reject Covington’s and Amici’s aggressive and wholly unsupported

effort to apply the Supreme Court’s expressly limited holding in Carpenter to the administrative

subpoena at issue here. The Morton Salt standard determines the enforceability of the

Commission’s subpoena. See, e.g., Hart v. Massanari, 266 F.3d 1155, 1170 (9th Cir. 2001)

(“Binding authority must be followed unless and until overruled by a body competent to do so.”).

               3.      Extending Carpenter Would Upend The SEC’s Ability To Investigate
                       Violations Of The Federal Securities Laws

       Carpenter’s explicitly narrow holding should not be overextended here for an additional

reason: Stretching the decision to subpoena enforcement actions would obstruct the



                                                14
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 22 of 33




Commission’s (and similar agencies’) broad investigatory powers, contrary to congressional

intent. See Arthur Young, 584 F.2d at 1023 (“Congress has endowed the [SEC], not unlike other

agencies, with broad power to conduct investigations such as it deems necessary to ferret out

violations of the federal securities laws and implementing regulations, whether consummated or

incipient and in that connection to call for production of relevant materials by those who seem to

have them.”) (citations and quotation marks omitted). Those broad powers include “mak[ing]

such investigations [the SEC] deems necessary to determine whether any person has violated, is

violating, or is about to violate” the securities laws. 15 U.S.C. § 78u(a)(1). “For the purpose of

any such investigation … [the SEC may] … require the production of any books, papers,

correspondence, memoranda, or other records which the Commission deems relevant or material

to the inquiry.” Id. § 78u(b).

       The Commission routinely seeks non-public financial information and communications

in order to satisfy its congressional mandate to enforce the securities laws. Some examples of

routine SEC investigations involving private information include: insider trading investigations,

in which communications between the suspected tipper and tippee have relevance; or Ponzi

scheme investigations, where communications between the promoter and victims of the

suspected scheme have import.

       Carpenter’s warrant and probable cause requirements, if made applicable to situations in

which the Commission seeks information over which some party has a claimed expectation of

privacy, would severely hamstring the SEC’s ability to investigate fraudulent schemes involving

securities and other suspected violations of the securities laws as few investigations begin with

“probable cause” of a securities law violation. Cf. In re Subpoena Duces Tecum, 228 F.3d at 348

(“If [the subpoena recipient] were correct in his assertion that investigative subpoenas may be




                                               15
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 23 of 33




issued only upon probable cause, the result would be the virtual end to any investigatory efforts

by governmental agencies, as well as grand juries.”). Indeed, the Commission has no authority

to obtain a search warrant and therefore could not satisfy Carpenter’s warrant requirement even

if probable cause of a securities law violation existed.

      D.       Covington’s Request For An Undefined Balancing Test Has No Merit

       Covington itself appears to recognize that Carpenter should not be applied in the context

of administrative subpoenas like the one at issue here. Covington does not assert that Carpenter

somehow precludes the Commission’s subpoena, but rather that this Court needs to conduct “a

robust reasonableness review” in light of Carpenter. Cov. Opp. 29. But Carpenter, which turns

wholly on the “unique nature of cell phone location information,” 138 S. Ct. at 2220, does not

mention or require “a robust reasonableness review” for other types of business records.

       Covington cites no cases describing this “robust reasonableness review” for

administrative subpoenas—none exists—and instead relies on decisions like Camara v.

Municipal Court of San Francisco, 387 U.S. 523 (1967), which concerns the standard for

physical intrusions and searches on property (e.g., inspections) by administrative agencies.

Unlike the actual “raid” at issue in Camara, Cov. Opp. 29, the Commission did not bang on

Covington’s doors; it served a piece of paper that led to this current process of judicial review.

This Court should not adopt Covington’s proposed “robust reasonableness review” and make

new law out of whole cloth—particularly when that new law would undermine the SEC’s broad

discretion to conduct investigations as delegated by Congress.7


7
        Covington wants the Court to balance the Commission’s need for the Impacted Company
List against the purported privacy interest at stake. Cov. Opp. 30. No case law supports such a
balancing test—in any context, let alone here. As the cases cited by Covington demonstrate,
Cov. Opp. 30, the Supreme Court has purported to balance governmental and privacy interests in



                                                16
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 24 of 33




III.   THE COURT SHOULD COMPEL COVINGTON’S COMPLIANCE WITH THE
       SEC’S INVESTIGATIVE SUBPOENA

       The Court should order Covington to produce the Impacted Company List. This limited,

narrowly tailored request easily satisfies the three Morton Salt factors as described in the

Application at 6-12. Indeed, Covington presents no argument in opposition, and therefore

concedes, that the first two Morton Salt factors are satisfied here: (1) the SEC has authority for

its inquiry, and (2) the SEC’s demand is not too indefinite. Cov. Opp. 41-44.

       Covington argues only that compliance with the subpoena should be excused because

producing the Impacted Company List would be “unreasonable and unduly burdensome,” and

therefore the request is not reasonably relevant. Cov. Opp. 41. According to Covington, the

unreasonable burdens resulting from subpoena compliance include the “burdens on the attorney-

client relationship” as well as Covington’s “substantial costs”8 in resisting disclosure of the



determining when a category of warrantless search or seizure may be constitutional—but this
“balancing” is not done on a case-by-case basis, which would destroy consistent judicial
outcomes. For example, the Supreme Court “balanced” governmental and privacy interests in
holding that the police may not randomly pull over a car to determine whether the driver is
licensed; instead, the police must have a “reasonable suspicion” that the driver is unlicensed
before making the stop. Delaware v. Prouse, 440 U.S. 648, 663 (1979). In light of this
precedent, courts do not “balance” governmental and privacy interests in determining whether a
particular traffic stop is constitutional; they instead apply the “reasonable suspicion” test. See
also Maryland v. King, 569 U.S. 435 (2013) (“balancing” interests and setting forth categorical
rule that government may swab an individual for DNA following arrest for serious offense; no
case-by-case balancing); Camara, 387 U.S. at 536-37 (“balancing” interests and setting forth
categorical rule that health and safety inspections of dwellings require a warrant; no case-by-case
balancing). In the context of administrative subpoenas, the Supreme Court has “balanced”
governmental and privacy interests and determined that such subpoenas are reasonable and
should be enforced when they satisfy the three Morton Salt factors. Supra at 7-9.

8
        Covington claims that it “undertook an exhaustive review of its compromised client files,
involving at least 490 hours of attorney time, confirming that only a tiny fraction of affected
clients had files that even potentially contained MNPI.” Cov. Opp. 42. These actions,
apparently undertaken to convince the Commission to forego enforcement of the subpoena, do
not reflect any burden associated with subpoena compliance and therefore lack relevance.



                                                17
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 25 of 33




Impacted Company List, including to satisfy its supposed ethical obligations under D.C. Bar

Rule of Professional Conduct 1.6 (“Rule 1.6”). Cov. Opp. 42.9

       The D.C. Circuit considered and rejected this argument in Legal Services for New York

City. Like Covington, the legal services provider in that case argued that an administrative

subpoena harmed the attorney-client relationship, including the “ability to assure clients of the

secrecy of their communications,” and therefore was “unduly burdensome.” 249 F.3d at 1084.

The D.C. Circuit described this argument as “novel” and without basis. Id. According to the

court, any burden was “undue” only if “compliance threatened to unduly disrupt or seriously

hinder normal operations,” a threshold which the production of client names and descriptions of

the client representations did not meet. Id. (quoting FTC v. Texaco, Inc., 555 F.2d 862, 882

(D.C. Cir. 1977) (en banc)). The court further held that the subpoena was “wholly consistent

with the rules governing client secrets and generally consistent with the attorney-client privilege,

so it in no way alters the degree of secrecy appellant can justifiably promise its clients.” Id.

(“We cannot say that the remote possibility of a linkage between client identity and [the nature of

the client representation] ‘unduly disrupts or seriously hinders’ appellant’s provision of legal




9
        Covington exaggerates any costs and burdens of complying with Rule 1.6. At most, Rule
1.6 required only that Covington object to the subpoena, forcing the Commission to initiate this
proceeding. Rule 1.6 ceased having any application upon the filing of this case. See Rule 1.6,
Cmt. 6 (explaining that the attorney-client privilege and work product doctrine apply in the
context of judicial proceedings, not Rule 1.6 confidentiality principles); see also, e.g., Barback v.
Fisher, No. 20-515, 2022 WL 965914, at *6 (M.D. La. March 30, 2022) (“Rule 1.6 does not
preclude an attorney from producing evidence in a judicial proceeding” even without the consent
of a law firm’s clients) (citations omitted); FTC v. Trudeau, No. 03 C 3904, 2013 WL 842599, at
*4 (N.D. Ill. Mar. 6, 2013) (“Rule 1.6 is not intended to, and does not apply to judicial
proceedings in which a lawyer may be required to produce evidence concerning a client”)
(citation and quotation marks omitted). Moreover, and regardless, there is no “undue burden” in
supplying the Commission with a single document already in Covington’s possession. That
Covington voluntarily incurred expense in advance of this subpoena enforcement action is beside
the point.

                                                 18
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 26 of 33




services.”).

        Other decisions from the D.C. Circuit and courts within this District similarly have found

no “undue burden” in disclosing client identities. For example, the court in California Rural

Legal Assistance rejected the legal services provider’s argument of undue burden where the

provider estimated that the agency’s request for client names and other client information would

require review of “approximately 39,000 individual hard copy case files for potentially

privileged information prior to disclosure… requiring expenditures potentially in excess of $1

million if outside contract attorneys are engaged to handle the review, or, if [the provider’s]

attorneys conduct the review themselves, requiring over 3,200 hours of attorney time and 4,800

to 7,800 hours of staff time for records handling and support.” 824 F. Supp. 2d at 46, affirmed in

relevant part by 722 F.3d 424; see also Linde Thomson, 5 F.3d at 1517 (rejecting law firm’s

undue burden claim and noting that “proving undue hardship ‘is not easily met where … the

agency inquiry is pursuant to a lawful purpose and the requested documents are relevant to that

purpose’”) (citation omitted); Hunton & Williams, 952 F. Supp. at 855 (rejecting argument that

having to contact clients prior to production of client list was unduly burdensome); Adair, 867 F.

Supp. at 1120 (ordering production of a client list notwithstanding the court’s concern that

disclosure of the client list, due to law firm’s relationship to the Whitewater investigation, could

“harm the [law firm] in its business and in its relationship with its clients and could also harm the

clients whose names are disclosed”).

        Covington has presented no valid arguments for excusing its performance with the

subpoena. The Court should order production of the Impacted Company List.




                                                19
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 27 of 33




IV.    THE POLICY ARGUMENTS ADVANCED BY COVINGTON AND AMICI
       LACK MERIT

       Covington and Amici separately set forth a host of policy arguments in which they

question the wisdom of the subpoena and ask the Court to substitute its judgment for the

Commission’s in matters of securities law enforcement. These speculative and unsupported

policy assertions are beside the point because Congress entrusted the Commission, and not the

courts, with the authority to make policy judgments regarding the breadth of its investigations.

See, e.g., Arthur Young, 584 F.2d at 1031 (“The breadth of an investigation is for the [SEC] to

determine.”); United States v. Legal Servs. for N.Y.C., 100 F. Supp. 2d 42, 47 (D.D.C. 2000)

(upholding administrative subpoena requiring the production of a client list and noting that “[i]t

is not the province of this court to decide the best way for [the agency] to carry out its

responsibilities.”), affirmed by 249 F.3d 1077. In any event, the policy arguments that

Covington and Amici raise lack merit.

       A.      The SEC Has Law Enforcement Interests Distinct From The Department Of
               Justice And FBI And Pursues Its Investigations Independently Of Criminal
               Law Enforcement Authorities

       Covington and Amici argue that enforcing the subpoena will undermine law enforcement

efforts in the cybersecurity field by providing a disincentive for law firms to “act as good

citizens” and cooperate with law enforcement.10 See Cov. Opp. 39-40; Law Firm Brief 11-12.

In support of their arguments, Covington and Amici point to the U.S. Department of Justice’s

(“DOJ”) policy regarding cyberattack investigations, as well as recent statements made by the



10
        Amici Chamber and ACC also argue that the subpoena enforcement action will have a
chilling effect on companies that are the victims of cyberattacks, making them less likely to seek
counsel to represent them in connection with such attacks. See Chamber Brief 8; ACC Brief 16.
Amici misstate what is sought in this subpoena enforcement action. Contrary to Amici’s
assertion, the Commission has not sought any information from lawyers who were retained for
purposes of responding to the cyberattack.

                                                 20
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 28 of 33




Director of the Federal Bureau of Investigation (“FBI”), and assert that the SEC should follow

the lead of criminal authorities by going after the “bad guys.”

       The DOJ and the Commission are tasked with different responsibilities, and they seek to

achieve their respective goals through different policies, priorities, and investigative methods.

And while the FBI and the DOJ are tasked with pursuing federal crimes, including cyberattacks,

the SEC’s mission is focused on investor protection, especially in the context of public

companies regulated by the Commission. A major cyberattack that exposes the non-public data

of hundreds of public companies has implications for shareholders, potential investors, and

market integrity, and demands further investigation by the federal agency charged with investor

protection and market regulation.

       In connection with its mission, the Commission maintains a distinct interest in pursuing

illegal trading based on non-public information obtained by threat actors during a cyberattack,

potential insider trading by executives at companies that were impacted by such cyberattacks,

and ensuring that investors who invest in public companies receive full and fair disclosure of

material impacts caused by cyberattacks. Far from “shaming,” “victimizing” or “punishing”

Covington as a result of the cyberattack, the Commission seeks to ensure that innocent investors

do not pay the price for unlawful acts that often accompany cyberattacks.

       Nor may the Commission rely on Covington’s representation that the threat actors sought

information only of interest to China. Cov. Opp. 7-8. Threat actors may have multiple purposes

for launching a cyberattack, and, by Covington’s own admission, at least seven companies may

have had MNPI compromised. Even if the initial goal was political espionage, the SEC cannot

assume that the threat actors put on blinders and did not attempt to monetize the compromised

MNPI. The Commission has a duty to conduct its own investigation and to ensure that the




                                                21
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 29 of 33




cyberattack has not harmed markets and investors.

       B.      The SEC Is Fulfilling Its Congressionally Mandated Mission Of Protecting
               Investors And Regulating Market Participants

       Amici also assert that the SEC is somehow “improperly inserting itself” as a

cybersecurity regulator by seeking the names of public companies whose information may have

been accessed by threat actors. See Chamber Brief 22. This argument seems to imply that only

the Department of Homeland Security, the FBI, and the DOJ can investigate the impact of

cybercrimes in the United States, and that other federal agencies who regulate entities impacted

by cybersecurity incidents have no business investigating such incidents. The argument takes an

incorrect and overly restrictive view of the relationship between independent federal law

enforcement agencies.

       Contrary to Amici’s assertions, the SEC has an active role to play in the investigation and

enforcement of securities law violations arising from cybersecurity incidents such as the

Hafnium cyberattack. The SEC has actively pursued that role for years now. See Application at

2. Indeed, the ACC Brief articulates precisely these concerns as the Commission’s “legitimate

cybersecurity responsibilities.” See ACC Brief 2-3 (listing the Commission’s “legitimate

cybersecurity responsibilities” to include “protect[ing] market integrity against the prospect of

insider trading enabled by security breaches and ensur[ing] that investors receive material

information related to public companies’ cybersecurity risks and incidents.”).

       The Commission’s legitimate interest in investigating these areas is not new,

controversial, or an improper attempt to insert itself into a larger role as a cybersecurity enforcer.

The Commission instead is carrying out its traditional missions of investor protection and market

regulation in light of the reality that cybersecurity events affect public companies, their




                                                 22
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 30 of 33




shareholders, and other regulated entities.11 In keeping with its limited mission in the

cybersecurity sphere, the Commission has specifically tailored its request to determining the

impact of the breach on public companies regulated by the Commission.

       C.      The Present Subpoena Enforcement Action Has Limited Implications
               Outside The Specific Factual Context Of This Matter

       Covington and Amici offer up a “parade of horribles” that allegedly will occur if

Covington is required to provide the names of public companies whose information was

accessed when the threat actors gained access to Covington’s systems. Among other things,

Covington and Amici assert that reporters and law firms will become regular targets of SEC

subpoenas and that the courts will become overburdened with subpoena enforcement actions by

administrative agencies seeking access to law firm and reporter records. Cov. Opp. 38-39;

Reporter Brief 17-18; Law Firm Brief 11-12.

       No facts support this unfounded speculation. Cyberattacks are not some new

phenomenon. To the contrary, Appendix A to Covington’s Opposition identifies 114 law firms

as having suffered recent cyberattacks from 2020-2022. Tellingly, Covington and Amici fail to

point to any evidence that the SEC has been “targeting” law firms and reporters and

overburdening the courts. Nor do Amici point to instances beyond 2006 when the agency has

served subpoenas on reporters or media organizations seeking confidential sources.




11
        See, e.g., Commission Statement and Guidance on Public Company Cybersecurity
Disclosures, Release No. 33-10459 (Feb. 26. 2018) at 1-2 [83 FR 8166], available at
www.sec.gov/rules/interp/2018/33-10459.pdf (“Cybersecurity risks pose grave threats to
investors, our capital markets, and our country…. Companies today rely on digital technology to
conduct their business operations and engage with their customers, business partners, and other
constituencies. In a digitally connected world, cybersecurity presents ongoing risks and threats
to our capital markets and to companies operating in all industries, including public companies
regulated by the Commission.”).

                                                23
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 31 of 33




       D.      The SEC Has No Other Means To Obtain The Names Of Public Companies
               Impacted By The Cyberattack Against Covington, Contrary To The
               Statements Of Covington And Amici

       Whether intentionally or through lack of understanding, Covington and Amici paint an

inaccurate picture of the SEC’s ability to independently obtain the information sought in the

subpoena. Among other things, Covington suggests that the SEC could use its “specialized tool”

and FINRA market surveillance “to determine unusual trading patterns” to investigate, and that

the SEC could then “mine court appearances, securities filings, or other public records to identify

clients whose affiliation with Covington may have already become public.” Cov. Opp. 35-36.

       But there is no simple formula for identifying “unusual trading patterns,” particularly

where the relationship between independent public companies is not readily apparent. Indeed, in

this case, the key factor that would make the trading unusual would be the fact that the same or

related parties were trading in shares of multiple Covington clients impacted by the data breach.

Yet without knowing the identities of the issuers and the fact that their information was accessed

during the breach, the Commission has no way to conduct that analysis.

       In addition, as Covington admits in its filing, any Commission “mining” of “court

appearances, securities filings, and public records” to identify Covington clients would be both

over- and under-inclusive. See Cov. Opp. 43-44 (describing the inherent shortcomings of mining

public data to determine whether client information was accessed in connection with the

cyberattack). First, the Commission would likely identify numerous Covington clients who were

not impacted by the breach, making trading in their shares irrelevant to any analysis of potential

unlawful trading. Second, Covington’s representation of the clients in certain instances may not

be publicly reported (e.g., in a non-public investigation), in which case the Commission’s dataset

for any trading analysis would be incomplete. In both scenarios, any evaluation of whether there




                                               24
        Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 32 of 33




was trading based on MNPI obtained from the Covington hack would be highly ineffective and

constrained from the start.

       E.      The SEC’s Investigation Is Non-Public And Confidential

       Finally, Covington and Amici Law Firms express the concern that the Commission may

disseminate client identities, including to “members of Congress, the press and the public.” Cov.

Opp. 28; Law Firm Brief 5-6. The concerns are unfounded. The Commission conducts non-

public, confidential investigations and, as required by law, safeguards confidential information

received by it. 15 U.S.C. § 78x(b); 17 C.F.R. §§ 200.735-3, 230.122, 240.24c-1; cf. Cal. Rural

Legal Assistance, 722 F.3d at 429 (“It is well established that it is the agencies, not the courts,

which should, in the first instance, establish procedures for safeguarding confidentiality.”)

(citation and quotation marks omitted).

                                          CONCLUSION

       For all of the above reasons and those set forth in the Application and supporting papers,

the Court should grant the Application and order compliance with the Commission’s

investigative subpoena, as limited by the Application.



 Dated: March 14, 2023                                Respectfully submitted,


                                                      /s/ Eugene N. Hansen
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                                                 25
       Case 1:23-mc-00002-APM Document 35 Filed 03/14/23 Page 33 of 33




                               CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2023, I caused the foregoing Reply Memorandum of

Law in Further Support of Securities and Exchange Commission’s Application for Order

Compelling Compliance with Investigative Subpoena to be filed and served on all counsel of

record via CM/ECF.



                                                  /s/ Eugene N. Hansen
